       Case 1-18-43971-cec            Doc 13       Filed 07/17/18    Entered 07/17/18 11:50:15




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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------x
In re:
                                                                    Chapter 11
BROOKLYN BUILDINGS LLC,
                                                                    Case No. 18-43971 (CEC)
                           Debtor.
---------------------------------------------------------x


                           NOTICE OF APPEARANCE
             ON BEHALF OF THE CITY OF NEW YORK AND ITS AGENCIES

        PLEASE TAKE NOTICE, that pursuant to Rules 9010(b), 2002 and 3017 of the

Federal Rules of Bankruptcy Procedure, the City of New York and Its agencies hereby appears in

the above-captioned case by the undersigned counsel and requests service of all papers, including

but not limited to, orders, reports, pleadings, motions, applications, petitions, answering and

reply papers, and copies of any disclosure statements and plans of reorganization filed or to be

filed in the above-captioned case by emailing one copy of any such paper to:

Gabriela P. Cacuci
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Dated: New York, New York
       July 17, 2018

                                          ZACHARY W. CARTER
                                          Corporation Counsel of the
                                          City of New York

                                          By:     /s/ Gabriela P. Cacuci
                                                  Gabriela P. Cacuci
                                                  Assistant Corporation Counsel
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TO:

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       Case 1-18-43971-cec       Doc 13     Filed 07/17/18     Entered 07/17/18 11:50:15




                                     CERTIFICATE OF SERVICE

               I, Gabriela P. Cacuci, an attorney admitted to practice before the courts of the

State of New York, do hereby certify that on July 17, 2018, I served true copies of the foregoing

Notice of Appearance on behalf of the City of New York and Its Agencies dated July 17, 2018,

by facsimile and/or electronic transmission on the persons listed below:


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Dated: New York, New York
       July 17, 2018


                                             /s/ Gabriela P. Cacuci__
                                             GABRIELA P. CACUCI




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